Case 19-25410-VFP        Doc 20    Filed 12/09/19 Entered 12/09/19 16:31:31       Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY


In re:                              :                  Case no.:         19-25410
                                                                   ____________________
                                    :
                                    :                  Chapter:             13
                                                                   ____________________
Karin A. Weinraub                   :
                                    :                  Judge:             Papalia
                                                                   ____________________
                        Debtor(s)   :
____________________________________:


                              CERTIFICATION OF NO OBJECTION


                 Diana L. Reaves
         I _________________________, Deputy Clerk hereby certify that there have been no
objections filed relative to the Notice of Proposed:


              Abandonment

              Public Sale

              Private Sale

              Settlement of Controversy

              Auctioneer Compensation

Description of Property (if applicable):
802 Albermarle Street, Wyckoff, New Jersey




                                                       JEANNE A. NAUGHTON, Clerk

      December 9, 2019
Date: _____________________                                /S/ Diana L. Reaves
                                                       By: __________________________

                                                                                        rev.2/10/17
